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                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.2)
                               Eastern Division

Amerisure Insurance Company, et al.
                                                Plaintiff,
v.                                                            Case No.: 1:23−cv−16006
                                                              Honorable John J. Tharp Jr.
Premier Design + Build Group, LLC, et al.
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, February 14, 2025:


        MINUTE entry before the Honorable Heather K. McShain: This case has been
referred to Magistrate Judge McShain for discovery scheduling and supervision (including
authority to resolve motions for protective orders and confidentiality orders) and
settlement [55, 56]. Because a discovery schedule has already been set, the parties are
expected to proceed with discovery unless they move for and obtain a court−ordered stay
of discovery. A joint status report is due on 04/14/2025 to update the Court on: (a) the
progress of discovery; (b) the status of settlement discussions, if any; and (c) any other
issues the parties wish to raise with the Court. Before filing any discovery motions in this
case, the parties must review and comply with Magistrate Judge McShain's standing order
for discovery motions (available on the Court's website by selecting the link for
Magistrate Judge McShain and then the link for "Discovery Motion Requirements"). The
parties may contact chambers at any time (by email to
Chambers_McShain@ilnd.uscourts.gov) if they would like the Court's assistance with
settlement. Mailed notice. (pk, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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